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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 The Wilderness Society, et al.,                 )
                                                 )
                 Plaintiffs,                     ) Civil Action No. 1:17-cv-02587 (TSC)
          v.                                     )
                                                 )
 Donald J. Trump, et al.,                        )
                                                 )
                 Defendants.                     )
                                                 )
                                                 )
 Grand Staircase Escalante Partners, et al.,     )
                                                 ) Civil Action No. 1:17-cv-02591 (TSC)
                 Plaintiffs,                     )
          v.                                     )
                                                 )
 Donald J. Trump, et al.,                        )
                                                 ) CONSOLIDATED CASES
                 Defendants                      )
                                                 )
                                                 )
 American Farm Bureau Federation,                )
 et al.,                                         )
                                                 )
                 Defendants-Intervenors.         )
                                                 )

   FEDERAL DEFENDANTS’ AND PLAINTIFFS’ JOINT UNOPPOSED MOTION TO
    SET ORAL ARGUMENT ON FEDERAL DEFENDANTS’ MOTION TO DISMISS

         Defendants Donald J. Trump et al. (collectively, “Federal Defendants”) and Plaintiffs

The Wilderness Society et al. and Grand Staircase Escalante Partners et al., (collectively,

“Plaintiffs”) respectfully move the Court to set a hearing date for oral argument on the Federal

Defendants’ motion to dismiss in the above-captioned consolidated cases (ECF No. 43).

         These cases challenge the 2017 Proclamation that excluded approximately 900,000 acres

of public land from the Grand Staircase-Escalante National Monument. The Federal

Defendants’ motion is now fully briefed, making appropriate an expeditious hearing and
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resolution of the motion. Because the President’s action on the Grand Staircase-Escalante

National Monument raises novel and significant statutory and constitutional issues, oral

argument would allow the parties to respond to any questions the Court may have and facilitate

the efficient resolution of the case.1

        Plaintiffs’ counsel have conferred with Intervenors American Farm Bureau Federation,

Utah Farm Bureau Federation, Garfield County, Kane County, and the State of Utah about their

positions on the request to set a hearing date. No Intervenor opposes the motion.

        Because the Court may wish to hear arguments in these cases together with arguments on

Federal Defendants’ motion to dismiss in the related consolidated cases involving Bears Ears

National Monument, Hopi Tribe v. Trump, Case No. 1:17-cv-02590-TSC (ECF No. 49),

Plaintiffs’ counsel have also conferred with counsel for all parties in that case. No parties in

Hopi Tribe object to the motion. In fact, a similar motion asking the Court to set oral argument

is simultaneously being filed in that case.

        To facilitate the scheduling of a hearing, Plaintiffs have surveyed counsel for all parties

in both sets of consolidated cases for their availability through July 31, 2019, and endeavored to

determine the dates that would accommodate the largest number of parties. Based on this

survey, the dates that accommodate the largest number of parties are July 16–19 and July 22–26,

2019. Counsel for all parties are available for a hearing on July 22 or 23; however, counsel for


1
  Plaintiffs also note that the Bureau of Land Management (“BLM”) is continuing to prepare
resource management plans (“RMPs”) for: (1) the 900,000 acres of land that lost monument
status; and (2) for the lands remaining in the Grand Staircase-Escalante National Monument. See
U.S. Dep’t of the Interior, Bureau of Land Mgmt., Grand Staircase-Escalante National
Monument and Kanab-Escalante Planning Area Draft Resource Management Plans and
Environmental Impact Statement Executive Summary (August 2018),
https://eplanning.blm.gov/epl-front-office/projects/lup/94706/155930/190910/GSENM-
KEPA_Executive_Summary-508.pdf (last visited Apr. 29, 2019). The BLM estimates that it will
publish approved RMPs and issue a final decision later this year.

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some intervenors are unavailable during the other dates in this range.2 Recognizing that there are

challenges in setting a schedule accommodating all of the participants, movants respectfully seek

an expeditious hearing on the motion in order to facilitate a prompt resolution of the motion to

dismiss.

       A proposed order setting the hearing date is attached.

       Respectfully submitted this 9th day of May 2019,


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Diversity



2
  Counsel for Farm Bureau Intervenors are unavailable July 24–26, and counsel for Farm Bureau
Intervenors and Brandon Sulser et al. (Intervenors in the Hopi Tribe v. Trump case) are unavailable
July 16–19.
                                                3
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                                 CERTIFICATE OF SERVICE

     I hereby certify that on this 9th day of May, 2019, I filed the above motion with the Court’s
CM/ECF system, which provided notice of this filing by e-mail to all counsel of record.


                                                    /s/ Romney S. Philpott
                                                    Romney S. Philpott




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